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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


ELIZABETH MOELLER and NICOLE
BRISSON, individually and on behalf        Case No. 2:16-cv-11367-JEL-EAS
of all others similarly situated,
                                           [Hon. Judith E. Levy]
                  Plaintiffs,


      v.

AMERICAN MEDIA, INC., a
Delaware corporation, and ODYSSEY
MAGAZINE PUBLISHING GROUP,
INC.,
a Delaware corporation,


                  Defendants.

        PLAINTIFFS’ MOTION FOR AND BRIEF IN SUPPORT OF
         FINAL APPROVAL OF CLASS ACTION SETTLEMENT

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                     PLAINTIFFS’ MOTION FOR
           FINAL APPROVAL OF CLASS ACTION SETTLEMENT

      Plaintiffs Elizabeth Moeller and Nicole Brisson respectfully move the Court

to grant their Motion for Final Approval of Class Action Settlement. Specifically,

Plaintiffs request that the Court find that (i) the notice to the Settlement Class

satisfies the requirement of Due Process and Rule 23, and (ii) the Settlement is fair,

reasonable, and adequate meriting final approval. In accordance with Local Rule

7.1(a), counsel for Defendant will not oppose the relief sought by this motion. (See

Parties’ Class Action Settlement Agreement, ¶¶ 8.1, 8.3.)1

      For the reasons discussed in the accompanying brief, the Motion should be

granted.




1
 A copy of the Parties’ Class Action Settlement Agreement is attached hereto as
Exhibit 1.

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          PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION FOR
         FINAL APPROVAL OF CLASS ACTION SETTLEMENT

                  STATEMENT OF ISSUES PRESENTED

  1. Whether this Court should find that notice to the Settlement Class satisfies

     the requirements of Due Process and Federal Rule of Civil Procedure 23,

     when direct notice, detailing the terms of the Settlement Agreement and

     individual options for objecting, opting-out, or submitting a claim, was

     transmitted via email and postcard and reached 89.9% of the class?

     Plaintiffs’ Answer: Yes.

  2. Whether this Court should grant final approval to the Settlement Agreement

     under Michigan’s Preservation of Personal Privacy Act, M.C.L. §§

     445.1711-1715 (“PPPA”), finding it fair, reasonable, and adequate, when it

     delivers meaningful prospective and monetary relief to the Settlement Class?

     Plaintiffs’ Answer: Yes.




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I.    INTRODUCTION

      On June 8, 2017, this Court preliminarily approved the class action

settlement between Plaintiffs Elizabeth Moeller and Nicole Brisson (the

“Plaintiffs”) and Defendants American Media, Inc. (“AMI”) and Odyssey

Magazine Publishing Group, Inc. (“Odyssey”, together, “Defendants”) and

directed that notice be sent to the Settlement Class. (Dkt. 34.) The settlement

administrator has implemented the Court-approved notice plan and direct notice

has reached approximately 89.9% of the Settlement Class. The reaction from the

class has been overwhelmingly positive, which should come as no surprise given

that this is the largest and strongest settlement to date under Michigan’s

Preservation of Personal Privacy Act (“PPPA”), M.C.L. §§ 445.1711-1715.

Specifically, of the approximately 334,4302 class members, only three have

requested to be excluded, there is a single pro se objection from an incarcerated

individual, and tens-of-thousands have already filed claims. Those numbers

effectively translate into a complete lack of opposition to the Settlement. Thus, the

Court should have no hesitation in granting final approval to the Settlement.



2       The number of class members was estimated in the Settlement and
Preliminary Approval Order as “approximately 415,000 Persons.” (Dkts. 30-2; 34.)
Defendants provided KCC, the Court-Approved Settlement Administrator, with a
list of 423,237 persons, that after the duplicates were removed resulted in a list
containing only 334,430 members of the Settlement Class. (Declaration of Lana
Lucchesi (“Lucchesi Decl.”) ¶¶ 8–9, attached as Exhibit 2.)

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      The settlement’s strength largely speaks for itself: it creates a $7.6 million

non-reversionary common fund from which class members will receive pro rata

cash payments estimated to be around $100 (after payment of the costs of notice,

administration, attorneys’ fees, and incentive awards are made from the fund). The

estimated $100 individual payments are 26% to 64% greater than the amounts

recovered under the three other PPPA settlements that have received final approval

from courts in this District. And when compared to approved settlements of cases

alleging violations of similar privacy statutes—which typically offer no monetary

relief to the class whatsoever—the fairness, reasonableness, and adequacy of the

instant settlement becomes even more apparent. Not to be ignored, the settlement

also prevents Defendants from disclosing subscribers’ magazine reading choices to

third parties, which was one of the primary purposes for the filing of this lawsuit.

      For these reasons, and as explained further below, the Settlement is fair,

reasonable, and adequate, warranting this Court’s final approval.

II.   SUMMARY OF THE LITIGATION

      Plaintiffs’ allegations and the events leading up to reaching the Settlement

provide context for its fairness, reasonableness, and adequacy.

      A.     Plaintiffs’ Allegations and the PPPA.

      Defendants AMI and Odyssey are American magazine publishers whose

portfolio includes popular titles such as Country Weekly, Men’s Fitness, Muscle &



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Fitness, Fit Pregnancy, Flex, Muscle & Fitness Hers, Natural Health, the National

Examiner, Shape, Star, OK!, Radar, Soap Opera Digest, the National Enquirer,

and Globe. (See Plaintiffs’ Class Action Complaint, Dkt. 1 [“Compl.”], ¶ 1.)

Plaintiffs allege that Defendants don’t just make money selling magazines and

advertising space—they make additional profit by selling their subscribers’

personal choices in reading material. (Id. ¶¶ 2, 24, 26—27, 62—64, 72.) And

instead of simply selling lists of names that subscribe to certain magazines,

Plaintiffs allege that Defendants offer for sale something far more valuable:

customers’ magazine reading choices along with additional data about their income

levels, religion, ages, race, political affiliations, travel habits, and medical

conditions. (Id. ¶¶ 2, 21, 27, 38, 48, 66, 72.) Defendants allegedly obtain this

demographic and lifestyle data about their customers from data miners and other

third parties by offering their subscriber lists in exchange for the supplemental

demographic data. (Id. ¶ 27.)

      Of course, none of this is illegal if a magazine publisher informs its

subscribers about what it is doing and gets consent to disclose the information.

(M.C.L. §445.1713.) The problem is, Plaintiffs allege, customers never provided

consent for Defendants to disclose information to third parties related to their

magazine subscriptions. (Compl. ¶¶ 3, 28, 33-36, 43-46, 68, 69.)




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      On April 14, 2016, Plaintiffs Moeller and Brisson—Michigan citizens that

subscribed to Defendants’ magazines—initiated this suit. (Id. ¶¶ 30-32; 40-42.)

Both allege that at no time did they consent to allow Defendants to disclose their

choice of magazine subscription to any third parties, but Defendants disclosed that

information anyway. (Id. ¶¶ 33-36; 43-46.) They allege that this conduct violates

the PPPA, which prohibits retailers, publishers, and other entities engaged in the

business of selling written materials at retail from disclosing records or information

“concerning the purchase . . . of those materials by a customer that indicates the

identity of the customer.” M.C.L. § 445.1712. The Michigan legislature rightfully

recognized that a person’s choice in reading materials “is nobody’s business but

one’s own,” and passed the PPPA “to explicitly protect a consumer’s privacy in

buying and borrowing” such materials. Privacy: Sales, Rentals of Videos, etc.,

House Legislative Analysis Section, H.B. 5331, Jan. 20, 1989. Given the

importance of reader privacy, the version of the PPPA at issue here provides for

statutory damages. (See dkt. 23 at 10-15.)

      B.     The Litigation History

      Since Plaintiffs filed this case on April 14, 2016, Defendants have mounted

a vigorous defense. Defendants initial attack came on June 13, 2016, when they

moved to dismiss, arguing that Plaintiffs lacked standing under the Supreme

Court’s then-recent decision in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016) and



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that the 2016 amendments to the PPPA were retroactive and required dismissal.

(Dkt. 8.) When filed, both of these were complex issues of first impression, which

Plaintiffs opposed with equal vigor in a lengthy response. (Dkt. 21.)

       With the principal briefs on these dispositive issues filed, the Parties decided

to explore the potential of an early resolution before Defendants replied in support

of their motion to dismiss. (See Declaration of Rafey S. Balabanian in Support of

Plaintiffs’ Motion for Final Approval of Class Action Settlement (“Balabanian

Decl.) ¶ 4, attached as Exhibit 3.) To facilitate settlement discussions, and at the

Parties’ request, the Court extended the briefing schedule on the motion to dismiss,

so that the Parties could mediate with the Honorable Wayne R. Andersen, a well-

respected retired federal judge now with JAMS. (Id. ¶ 5.) Despite a full day of

mediation and a mediator’s proposal, the Parties remained too far apart and opted

to return to litigation. (Id.)

       After the failed mediation, Defendants picked up where they left off, filing

their reply in support of their Motion to Dismiss. (Dkt. 21.) On January 27, 2017,

with briefing finally complete and having heard oral argument, the Court denied

Defendants’ Motion to Dismiss, concluding both that Plaintiffs possessed Article

III standing and that the 2016 Amendments to the PPPA were not retroactive. (Dkt.

23.) Defendants then pushed forward, raising seventeen (17) affirmative defenses

in their Answer, including that Defendants don’t sell magazines “at retail,” that the



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PPPA doesn’t apply to magazine subscriptions, and that the PPPA violates the First

Amendment. (Dkt. 24.) The Parties also put together an extensive and aggressive

discovery schedule, dkt. 25, and Plaintiffs immediately propounded written

discovery. (Balabanian Decl. ¶ 6.)

       Continued litigation, however, was short-lived. As the case progressed, the

Parties decided to re-engage Judge Andersen. (Id. ¶ 7.) Over the course of several

weeks, Judge Andersen separately caucused with the Parties at least a dozen times

(including on nights and weekends) and eventually made another mediator’s

proposal that was accepted by all Parties on March 28, 2017. (Id. ¶ 7.) The Parties

then diligently prepared and executed a written settlement agreement. The Court

granted preliminary approval to that Settlement on June 8, 2017. (Dkt. 34.)

III.   TERMS OF THE SETTLEMENT AGREEMENT

       The terms of the Settlement agreement are briefly summarized as follows:

       A.    Class Definition.

       As part of preliminary approval, the Court certified a Settlement Class,

defined as “the approximately 415,000 Persons with Michigan street addresses

who purchased a subscription to an AMI Publication to be delivered to that

Michigan street address between April 14, 2010 and July 31, 2016.” (Dkt. 34;

Agreement ¶ 1.30.)




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      B.      Monetary Relief

      Defendants have established a $7.6 million non-reversionary Settlement

Fund, from which each Settlement Class Member who submits a valid claim shall

be entitled to a pro rata share, after payment of notice and administrative expenses,

attorneys’ fees, and any incentive award to the Class Representatives. (Id. ¶¶ 1.32,

2.1.) Individual payments are estimated to be approximately $100. (Balabanian

Decl. ¶ 8.)

      C.      Prospective Relief

      For a period of four years from June 8, 2017 (the date of entry of the Court’s

Preliminary Approval Order), and in accordance with the Settlement Agreement,

Defendants will not disclose any Michigan customers’ subscription information to

third-party companies without their prior express written consent. (Id. ¶ 2.2.)

      D.      Payment of notice and settlement administration expenses.

      Defendants have paid, and will continue to pay, all notice and administration

expenses out of the Settlement Fund. (Agreement ¶¶ 1.28, 1.32.)

      E.      Payment of incentive award, attorneys’ fees, and expenses

      Defendants have agreed to pay an incentive award from the Settlement Fund

to Plaintiffs Moeller and Brisson in the amount of $5,000 each to compensate them

for their service as Class Representatives, as well as reasonable attorneys’ fees not

to exceed 35% of the Settlement Fund. (Id. ¶¶ 1.32, 8.1, 8.3.) Both awards are



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subject to this Court’s approval, which Plaintiffs have moved for separately. (See

Dkt. 37.)

      F.     Release

      In exchange for the relief described above, Defendants and each of their

related and affiliated entities will receive a full release of all claims arising out of

or related to Defendants’ disclosure of their Michigan customers’ magazine

subscription information. (See Agreement ¶¶ 1.25—1.27 for full release language.)

IV.   THE NOTICE PLAN COMPORTS WITH DUE PROCESS.

      Before final approval can be granted, Due Process and Rule 23 require that

the notice provided to the Settlement Class is “the best notice that is practicable

under the circumstances, including individual notice to all members who can be

identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B); Eisen v. Carlisle

& Jacquelin, 417 U.S. 156, 173 (1974). Notice “need only be reasonably

calculated . . . to apprise interested parties of the pendency of the settlement

proposed and to afford them an opportunity to present their objections.” UAW v.

Gen. Motors Corp., 2006 WL 891151, at *33 (E.D. Mich. Mar. 31, 2006) (citation

omitted). Notice must clearly state essential information regarding the settlement,

including the nature of the action, terms of the settlement, and class members’

options. See Fed. R. Civ. P. 23(c)(2)(B); Dick v. Sprint Commc’ns Co. L.P., 297

F.R.D. 283, 292 (W.D. Ky. 2014). At its core, “[a]ll that the notice must do is



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fairly apprise the prospective members of the class of the terms of the proposed

settlement so that class members may come to their own conclusions about

whether the settlement serves their interest.” UAW v. Gen. Motors Corp., 497 F.3d

615, 630 (6th Cir. 2007) (citation omitted).

      That said, Due Process does not require that every class member receive

notice, and a notice plan is reasonable if it reaches at least 70% of the class. Fidel

v. Farley, 534 F.3d 508, 514 (6th Cir. 2008); Fed. Judicial Ctr., Judges’ Class

Action Notice and Claims Process Checklist and Plain Language Guide 3 (2010);

see also In re Countrywide Fin. Corp. Customer Data Sec. Breach Litig., 2009 WL

5184352, at *12 (W.D. Ky. Dec. 22, 2009) (finding notice plan to be “the best

notice practicable” where combination of mail and publications notice reached

81.8% of the class); Gascho v. Glob. Fitness Holdings, LLC, 822 F.3d 269 (6th

Cir. 2016) (finding that notice and claims processes were appropriate where 90.8%

of notices were successfully delivered to addresses associated with class members).

The notice plan here meets these standards, as it provided direct notice via a

postcard or email to 89.9 % of the Settlement Class. (Lucchesi Decl. ¶ 14.)

       At preliminary approval, the Court approved the Parties’ proposed Notice

Plan, finding it met the requirements of Rule 23 and Due Process. (Dkt. 34 at 9.)

That plan has now been fully carried out by professional settlement administrator

Kurtzman Carson Consultants, LLC (“KCC”). Pursuant to the Settlement,



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Defendants provided KCC with a list of 423,237 available names, addresses and

emails of potential Settlement Class Members. (Lucchesi Decl. ¶ 8.) After KCC

removed duplicates, the Class List contained 334,430 potential members. KCC

successfully delivered the Court-Approved notice via email to 8,255 class

members and via postcard to 292,405 class members. (Id. ¶¶ 9–13.) Accordingly,

the Court-approved notice successfully reached 89.9% of the Settlement Class.

(Agreement ¶¶ 4.1(b)-(c); (Lucchesi Decl. ¶ 14.)3 These summary notices also

directed Settlement Class Members to the Settlement Website, where they were

able to submit claims on-line; access important court filings, including the Motion

for Attorneys’ Fees; and see deadlines and answers to frequently asked questions.

(Agreement ¶ 4.1(d)); (Lucchesi Decl. ¶ 16)

      Given the broad reach of the notice, and the comprehensive information

provided, the requirements of due process and Rule 23 are met.

V.    THE SETTLEMENT WARRANTS FINAL APPROVAL.

      The Federal Rules of Civil Procedure require judicial approval of class

action settlements. Halliday v. Weltman, Weinber & Reis Co., L.P.A., 2013 WL

692856, at *1 (E.D. Mich. Feb. 26, 2013) (citing Fed. R. Civ. P. 23(e)). At final

approval, the ultimate issue is whether the settlement is fair, reasonable, and

adequate. Fed. R. Civ. P. 23(e)(2); Williams v. Vukovich, 720 F.2d 909, 921 (6th

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    KCC also notified the appropriate state and federal officials pursuant to
CAFA. (Lucchesi Decl. ¶¶ 5–7.)

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Cir. 1983). Courts within the Sixth Circuit recognize a strong “federal policy

favoring settlement of class actions.” UAW, 497 F.3d at 632 (citation omitted); see

also Leonhardt v. ArvinMeritor, Inc., 581 F. Supp. 2d 818, 830 (E.D. Mich. 2008).

      To evaluate the fairness, reasonableness, and adequacy of a settlement

agreement at final approval, courts look to seven factors: (1) the likelihood of

success on the merits; (2) the public interest; (3) the complexity, expense, and

duration of future litigation; (4) the opinions of class counsel; (5) the amount of

discovery completed; (6) the reaction of absent class members; and (7) the risk of

fraud or collusion (the “UAW factors”). UAW, 497 F.3d at 631 (citing Granada

Invs., Inc. v. DWG Corp., 962 F.2d 1203, 1205 (6th Cir. 1992)); Williams, 720

F.2d at 922-23. The court need only analyze the factors that are relevant to the

settlement agreement and may weigh “particular factors according to the demands

of the case.” Leonhardt, 581 F. Supp. 2d at 832 (citations and internal quotations

omitted). Although the factors may be assessed individually, inquiry into one

factor often overlaps with another. Gentrup v. Renovo Servs., LLC, 2011 WL

2532922, at *3 (S.D. Ohio June 24, 2011).

      As described below, each factor affirms the fairness, reasonableness, and

adequacy of the Settlement, and supports final approval.




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      A.     Plaintiff’s Likelihood of Success on the Merits, Balanced Against
             the Benefits of Settlement, Weighs in Favor of Final Approval.

      The first and most important UAW factor requires weighing the plaintiff’s

likelihood of success on the merits against the immediate benefits of settlement.

Poplar Creek Dev. Co. v. Chesapeake Appalachia, LLC, 636 F.3d 235, 245 (6th

Cir. 2011); In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 522-23 (E.D.

Mich. 2003). “Although this inquiry understandably does not require [the court] to

decide the merits of the case or resolve unsettled legal questions,” the fairness of a

proposed settlement cannot be judged “without weighing the plaintiff’s likelihood

of success on the merits against the amount and form of the relief offered in the

settlement.” UAW, 497 F.3d at 632 (citation omitted). Ultimately, the question is

whether the class’s interests “are better served if the litigation is resolved by the

settlement.” Leonhardt, 581 F. Supp. 2d at 832-33, 836 (citation omitted) (“absent

settlement, all class members would be subject to the uncertainty, risk, hardship

and delay attendant to continued litigation which ultimately might leave them with

absolutely nothing.”); see also Lasalle Town Houses Coop. Ass’n v. City of

Detroit, 2016 1223354, at *6 (E.D. Mich. Mar. 29, 2016) (granting final approval

where “class members would bear the risk of continued litigation with the potential

for an adverse result.”). The likelihood that Plaintiffs will succeed on the merits

thus serves as a “gauge” against which the benefits of the settlement are measured.




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Poplar Creek, 636 F.3d at 245 (citing In re Gen. Tire & Rubber Co. Sec. Litig.,

726 F.2d 1075 (6th Cir. 1984)).

      Here, Plaintiffs believed that their chances of succeeding in certifying an

adversarial class and prevailing on summary judgment or at trial were strong, but

they were also far from certain. (Balabanian Decl. ¶ 9.) Plaintiffs had defeated

Defendants’ two main case-dispositive arguments—lack of Article III standing and

retroactivity of the PPPA—and the uniformity of Defendants’ conduct toward the

class made the case an ideal candidate for certification. See Coulter-Owens v.

Time, Inc., 308 F.R.D. 524 (E.D. Mich. 2015) (certifying class where defendant

engaged in similar conduct toward its magazine subscribers).

      That said, there remained several ways in which the class could wind up

empty-handed. Plaintiffs would still face challenges on the merits of Defendants’

17 affirmative defenses as well as issues at summary judgment, including whether

Defendants were selling their subscriptions “at retail.” (Balabanian Decl. ¶ 10.)

While Plaintiffs believe that they would have succeeded on those issues, the Sixth

Circuit in Coulter-Owens v. Time Inc., 2017 WL 2731309 (6th Cir. June 26, 2017)

would have made succeeding on the “at retail” issue more difficult.4 There, the

Court found in an unpublished decision that under the facts of that case, the

subscribers who purchased their magazine subscriptions through third-party online

4 Although Coulter-Owens may have complicated summary judgment issues here,
it forecloses further argument on either the Article III or retroactivity issues.

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subscription agents did not purchase “at retail,” as required by the PPPA. Id. at *6.

The Settlement in this case was reached approximately 3 months prior to the Sixth

Circuit’s opinion, which certainly would have altered the course of the litigation

and may have even ultimately barred recovery to members of the Settlement Class

who subscribed to Defendants’ publications through third parties. (Balabanian

Decl. ¶ 10.)

      Against this backdrop of uncertainty, the benefits of the Settlement are

obvious and unmistakable: it creates a larger settlement fund for fewer class

members resulting in higher per class member recovery compared to the other

three PPPA settlements that have been approved in this district. (Id. ¶ 11.)

Specifically, the $7.6 million settlement fund for the benefit of 334,430 potential

class members is not only itself larger, but the anticipated $100 per person is one to

two times the individual recovery provided for in other PPPA settlements. See

Halaburda, No. 12-cv-12831, dkt. 68 (securing a $775,000 fund for a class of

40,000 subscribers with claiming class members getting an estimated $74 pro rata

payment); Coulter-Owens v. Rodale, No. 14-cv-12688 dkt. 54 (securing a $4.5

million fund for a class of approximately 580,000 subscribers with claiming class

members getting an estimated $44 pro rata payment); Kinder, No. 13-cv-11284

dkt. 81(securing a $7.5 million fund for a class of approximately 980,000




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subscribers with claiming class members getting an estimated $50 pro rata

payment).

      The reasonableness of the anticipated $100 pro rata payments becomes all

the more apparent when looking at the relief afforded in the typical privacy

settlement, where classes tend to be enormous, but individual class members

receive only cy pres relief without any individual payments. See, e.g., Lane v.

Facebook, Inc., 696 F.3d 811, 820-22 (9th Cir. 2012) (affirming $9.5 million

settlement providing cy pres payment as sole monetary relief in case where

statutory damages of up to $10,000 per claim were available in class of millions),

cert. denied 134 U.S. 8 (Nov. 4, 2013); In re Google Buzz Privacy Litig., No. C 10-

00672 JW, 2011 WL 7460099, at *3-5 (N.D. Cal. June 2, 2011) (approving $8.5

settlement providing cy pres payment as sole monetary relief in case where

statutory damages of up to $10,000 per claim were available in a class of millions);

In re Netflix Privacy Litig., No. 11-cv-00379, 2013 WL 1120801, at *6-7 (N.D.

Cal. Mar. 18, 2013) (approving $9 million settlement providing cy pres payment as

sole monetary relief in case where statutory damages of $2,500 per claim were

available to class of millions).

      Often overshadowed, but just as important, the Settlement delivers

meaningful prospective relief. For the next four years Defendants will not disclose

their Michigan customers’ subscriber information to third parties without prior



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express written consent. (Agreement ¶ 2.2(a).) This relief aligns perfectly with

both the goals of the PPPA and those of this lawsuit. See, e.g., Halaburda v. Bauer

Publ’g Co., No. 12-cv-12831, Dkt. 69 (E.D. Mich. Jan. 15, 2015) (finally

approving a class action in similar PPPA litigation and finding that “the more

important provisions of the settlement agreement are the provisions according

equitable relief and a cessation of the disclosure altogether for this period of four

years by the defendants.”). This prospective relief is particularly significant here,

given that the 2016 amendments to the PPPA no longer prohibit disclosure of such

information when it is “incident to the ordinary course of business” of the person

disclosing the information. 2016 Mich. Pub. Acts 92, M.C.L. § 445.1713.

      Where, as in this case, Plaintiffs’ likelihood of success on the merits is

tempered by uncertainty, the benefits of the settlement—both the prospective and

monetary—are readily apparent. The first UAW factor thus supports final approval.

      B.     In Protecting Reader Privacy and Conserving Judicial Resources,
             the Settlement Serves the Public Interest.

      A settlement that serves the public interest is likely to be found fair,

reasonable, and adequate. In re Cardizem, 218 F.R.D. at 530. Settlements may

serve the public interest by advancing a statute’s goals or by conserving judicial

resources. See id.; see also In re Rio Hair Naturalizer Prods. Liab. Litig., 1996 WL

780512, at *12 (E.D. Mich. Dec. 20, 1996) (“Voluntary resolution [of complex

class action litigation] is in the public interest”); Hainey v. Parrott, 617 F. Supp. 2d

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668, 679 (S.D. Ohio 2007) (“Public policy generally favors settlement of class

action lawsuits”) (citing Whitford v. First Nationwide Bank, 147 F.R.D. 135, 143

(W.D. Ky. 1992)). To serve the public interest, a settlement agreement that seeks

to enforce a statute “must be consistent with the public objectives” that the

legislature sought to attain. Williams, 720 F.2d at 923 (citations omitted).

      The instant Settlement furthers the objectives sought by the Michigan

Legislature when it enacted the Statute years ago. The PPPA recognizes that “one’s

choice in videos, records, and books is nobody’s business but one’s own.” House

Legis. Analysis Section, H.B. No. 5331. At its core, the PPPA protects Plaintiffs’

“right to read or observe what [they] please—the right to satisfy [their] intellectual

and emotional needs in the privacy of [their] own home.” Stanley v. Georgia, 394

U.S. 557, 565 (1969). Thus, the Settlement serves the legislature’s goal of

protecting an individual’s right to privacy in the written materials he or she

chooses to read because it prevents the disclosure of magazine reading preferences

by Defendants without express consent. (See Agreement ¶ 2.2.)

      It also advances the public interest by conserving judicial resources,

avoiding “notoriously difficult and unpredictable” class action litigation that can

consume the court’s time and money. See In re Cardizem, 218 F.R.D. at 530; see

also Leonhardt, 581 F. Supp. 2d at 839. To be sure, if the Settlement does not

receive the Court’s final approval, the case’s complex and lengthy litigation would



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continue and would require significantly more motion practice and potential

appeals. See Sims v. Pfizer, Inc., 2016 WL 772545, at *9 (E.D. Mich. Feb. 24,

2016) (finally approving settlement and finding that “absent settlement, all class

members would be subject to the uncertainties, hardship, and delay attendant to

continued litigation.”). Here, there is no need to deviate from the “strong public

interest in encouraging settlement of complex class action litigation.” See In re

Packaged Ice Antitrust Litig., 2011 WL 6209188, at *15 (E.D. Mich. Dec. 13,

2011) (citation omitted).

      The Settlement serves the public interest because it furthers the underlying

purpose of the PPPA—to protect the privacy of consumers’ personal reading

habits—and conserves judicial resources. The second factor therefore weighs in

favor of final approval.

      C.     The Complexity, Expense, and Duration of Further Litigation
             Favor Final Approval.

      The third UAW factor requires the consideration of the complexity, expense,

and duration of further litigation, and the comparison of those risks to the relief

afforded under the settlement. See, e.g., In re Cardizem, 218 F.R.D. at 523; UAW,

2006 WL 891151, at *18 (citation omitted). Final approval is favored in cases such

as this one, where the parties are “likely [to] expend significant time and money

litigating [a] case through class certification, dispositive motions, trial, and

appeal,” further chipping away at the amount—and possibility—of class recovery.

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Stinson v. Delta Mgmt. Assocs., Inc., 302 F.R.D. 160, 164 (S.D. Ohio 2014); see

also In re Telectronics Pacing Sys., Inc., 137 F. Supp. 2d 985, 1013 (S.D. Ohio

2001) (citation omitted).

      Undoubtedly, further litigation in this case would produce substantially more

motion practice, including an adversarial motion for class certification, discovery

disputes, and motions for summary judgment. Absent a summary judgment

victory, such a hard-fought case would ultimately lead to a trial, thus guaranteeing

that the matter would not conclude any time in the near future. Whichever party

loses, either at summary judgment or trial, will certainly appeal. Any one of these

obstacles could strip the class of all recovery, making further litigation “a high

stakes ‘zero sum’ undertaking.” Leonhardt, 581 F. Supp. 2d at 833.

      Absent final approval of the instant Settlement, the complexity, expense, and

duration of further litigation will threaten a positive outcome for the class.

Accordingly, the third UAW factor supports final approval.

      D.     The Stage of the Proceedings and Amount of Discovery
             Completed Weigh in Favor of Final Approval.

      The fourth UAW factor examines the stage of the proceedings and the

amount of discovery that has taken place. In re Rio, 1996 WL 780512, at *13.

Although “[t]here is no precise yardstick to measure the amount of litigation that

the parties should conduct before settling,” the case should be developed enough to

raise the court’s decision “above mere conjecture.” Id. (citation and internal

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quotations omitted). What is imperative is not the amount of formal discovery

completed, but whether the parties and the court have sufficient information to

make a reasoned decision with respect to settlement. See IUE-CWA v. Gen. Motors

Corp., 238 F.R.D. 583, 598 (E.D. Mich. 2006) (“That the parties conducted their

investigation through informal discovery . . . is not unusual or problematic, so long

as they and the court have adequate information in order to evaluate the parties’

relative positions.”).

      Here, in preparation for the initial mediation and further negotiations with

Judge Andersen, Plaintiffs obtained informal discovery from Defendants regarding

the size of the class and the nature of the disclosures. (Balabanian Decl. ¶ 12.)

Armed with this information and the knowledge acquired from having litigated and

settled other PPPA class actions, Plaintiffs and their counsel had all the

information they needed to reach an informed resolution of this matter. (Id.) As

such, the fourth UAW factor also militates in favor of final approval.

      E.     The Opinion of Class Counsel Supports Final Approval.

      The fifth UAW factor assesses the opinion of experienced counsel regarding

the settlement. UAW, 497 F.3d at 631; Williams, 720 F.2d at 922-23 (“The court

should defer to the judgment of experienced counsel who has competently

evaluated the strength of his proofs.”). Counsel’s judgment is entitled to significant

weight. Leonhardt, 581 F. Supp. 2d at 837. The deference afforded to counsel’s



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opinion depends on both their skill and experience, Int’l Union v. Ford Motor Co.,

2006 WL 198463, at *25 (E.D. Mich. July 13, 2006), as well as “the amount of

discovery completed and the character of the evidence uncovered.” Williams, 720

F.2d at 923.

      Here, Class Counsel are well-respected attorneys with significant experience

litigating consumer class actions of similar size, scope, and complexity.

(Balabanian Decl. ¶ 13; see also Firm Resumes of Edelson PC and Bursor &

Fisher, P.A., which are attached to the Balabanian Decl. as Exhibits 3-A and 3-B.)

In addition to being at the forefront of PPPA litigation, see, e.g., Halaburda, No.

12-cv-12831, dkt. 68, Edelson PC is widely known for its work in the area of

consumer privacy litigation. See, e.g., In re Facebook Privacy Litig., No. 10-cv-

02389, dkt. 69 (N.D. Cal. 2010) (recognizing Edelson PC as “pioneers in the

electronic privacy class action field”); see also In re Netflix Privacy Litig., No. 11-

cv-00379, dkt. 59 (N.D. Cal. Aug. 12, 2011) (noting Edelson PC’s “significant and

particularly specialized expertise in electronic privacy litigation and class

actions”); see also Harris v. comScore, No. 11-cv-05807, dkt. 369 (N.D. Ill. 2014)

(granting final approval to one of the largest consumer class actions ever brought

under federal electronic privacy laws, in which Edelson PC served as sole lead

counsel); see also Coulter-Owens v. Rodale, Inc., No. 14-cv-12688 (E.D. Mich.




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Sep. 29, 2016) (appointing as class counsel attorneys from Edelson PC in a similar

PPPA class action that settled on comparable terms).

      The law firm of Bursor & Fisher, P.A., has also been recognized for the

efforts it has made on behalf of consumer classes. Ebin v. Kangadis Food Inc., 297

F.R.D. 561, 566 (S.D.N.Y. Feb. 25, 2014) (“Bursor & Fisher, P.A., are class action

lawyers who have experience litigating consumer claims. … The firm has been

appointed class counsel in dozens of cases in both federal and state courts, and has

won multi-million dollar verdicts or recoveries in five class action jury trials since

2008.”); In re Michaels Stores Pin Pad Litig., No. 11-cv-03350, dkt. 22 (N.D. Ill.

June 8, 2011) (appointing Bursor & Fisher class counsel to represent a putative

nationwide class of consumers who made in-store purchases at Michaels using a

debit or credit card and had their private financial information stolen as a result).

      Class Counsel believe that the Settlement is fair, reasonable, and adequate.

(Balabanian Decl. ¶ 16.) In light of their experience, their opinion in support of

final approval satisfies this UAW factor.

      F.     The Reaction of Absent Class Members Favors Final Approval

      The sixth UAW factor weighs in favor of approval where the majority of

class members have elected to remain in the settlement class without objecting. In

re Cardizem, 218 F.R.D. at 527. A small number of opt-outs and objections “are to

be expected in a class action” and do not impact the Settlement’s fairness. Id.



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(citations omitted); see also Olden v. Gardner, 294 F. App’x 210, 217 (6th Cir.

2008) (inferring that most “class members had no qualms” with settlement where

29 out of 11,000 class members objected). Here, over 39,000 people have already

filed claim forms, a single pro-se individual has objected to the Settlement, and

only 5 have opted out (a mere .0007% of the Settlement Class). (Lucchesi Decl. ¶

17–19.) This exceptional participation rate and lack of opposition to the Settlement

Class leave no question that the class members view the Settlement favorably,

which further underscores its fairness. See Hillson v. Kelly Servs. Inc., No. 2:15-

CV-10803, 2017 WL 3446596, at *2 (E.D. Mich. Aug. 11, 2017) (finding that 10

opt-outs and a single objection that did not question the fairness of the settlement

to the class “strongly indicates that the settlement is fair.”)

      Further, the lone objection from Ms. Peterson, an incarcerated individual

serving multiple life sentences, misunderstands the nature of the disclosures of

personal information at issue in this case and should be overruled.5 (Balabanian

Decl. ¶ 17.) As an initial matter, Ms. Peterson’s objection references her

subscription to magazines that are not even published by Defendants. (Id.) But

even assuming she did subscribe to one of Defendants’ publications during the

class period, Ms. Peterson’s objection should still be overruled. First, Ms. Peterson

5      Ms. Peterson also claims that her brother called Class Counsel and that those
calls went unanswered. This assertion is false. Class Counsel logs every call it
receives about every settlement and none referenced Ms. Peterson or any other
incarcerated person. (Balabanian Decl. ¶ 17.)

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wrongly believes that the prospective relief is not a benefit to her because she’s

imprisoned. (Id. ¶ 17(a).) Not so. Ms. Peterson’s reading choices will be protected

from disclosure to third parties absent her consent just like every other class

member—a protection they currently don’t receive under the amended PPPA. (Id.

¶ 17(b).) Next, Ms. Peterson suggests that the settlement should have provided

credit monitoring protection for victims of identity theft. This critique stems from

an IRS notice she received after two tax returns were filed in her name in 2010.

But the information that the IRS explained would have been used to perpetrate the

fraud—i.e., Ms. Peterson’s “Social Security number (SSN) or Individual Taxpayer

Identification Number (ITIN)”—is not the sort of information collected and

disclosed by magazine companies. (Id.) Thus, Ms. Peterson’s belief that

Defendants’ disclosures resulted in the IRS notice she received and her resulting

request for credit monitoring is mistaken. Finally, Ms. Peterson appears to object to

the amount individuals are anticipated to receive under the settlement, but for the

reasons explained above, the monetary result here exceeds most privacy

settlements, including those under the PPPA. (Id. ¶ 17(c).)

      Accordingly, Ms. Peterson’s objection should be overruled and the Court

should find that this factor likewise favors granting final approval.




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      G.     The Settlement is Free from Fraud and Collusion.

      The final UAW factor ensures that the settlement is the “product of arm’s-

length negotiations as opposed to collusive bargaining.” Kogan v. AIMCO Fox

Chase, L.P., 193 F.R.D. 496, 501-02 (E.D. Mich. 2000) (citations omitted); see

also Sheick v. Auto. Component Carrier, LLC, 2010 WL 3070130, at *13 (E.D.

Mich. Aug. 2, 2010) (explaining that arm’s-length negotiations conducted “by

adversarial parties and experience counsel” are indicative of a settlement’s

fairness, reasonableness, and adequacy.) The absence of fraud or collusion is

presumed unless there is evidence to the contrary. IUE-CWA, 238 F.R.D. at 598;

see also UAW, 497 F.3d at 628; Dick v. Sprint Commc’ns Co. L.P., 297 F.R.D. at

295 (recognizing that courts “presume the absence of fraud or collusion in class

action settlements” and finding that the exchange of data through litigation and the

absence of allegations of fraud or collusion indicated that the settlement was the

result of a good-faith negotiation) (quoting Leonhardt, 581 F. Supp. 2d at 838).

Finally, “[t]he participation of an independent mediator in the settlement

negotiations virtually insures that the negotiations were conducted at arm’s-length

and without collusion between the parties.” Hainey, 617 F. Supp. 2d at 673.

      This Settlement is the product of negotiations conducted at arm’s-length by

experienced counsel representing adversarial parties and there is absolutely no

evidence of fraud or collusion. (Balabanian Decl. ¶ 18.) As the docket in this case



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reflects, the parties have vigorously pursued their own interests and positions

throughout the litigation, (see, e.g., dkts. 8, 12, 21), further confirming the absence

of fraud or collusion. See Leonhardt, 581 F. Supp. 2d at 838; Balabanian Decl. ¶

18.) And when the Parties were finally ready to discuss the possibility of

settlement, all of their negotiations occurred only at arm’s-length through a former

federal judge acting as a mediator. In fact, not only did the first mediation fail, but

the settlement was only reached as a result of a proposal by Judge Andersen.

(Balabanian Decl. ¶ 18.)

      The arm’s-length nature of these negotiations is not altered by the fact that

the Settlement permits the Court to award each Plaintiff a modest $5,000 service

award to compensate them for the approximately 25 hours of service they provided

to ensure the class they represented obtained meaningful relief. (See Dkt. 37.) As

explained in detail in Plaintiffs’ request for a service award, here, an incentive

award of $5,000 each is not a bounty or a windfall, and is in fact reasonable to

compensate Plaintiffs for the significant amount of time they invested in obtaining

a $7.6 million common fund for the class. (Id. at 26-27, discussing In re Pampers

Dry Max Litig., 724 F.3d 713 (6th Cir. 2013) and Plaintiffs’ substantial service

throughout this litigation).) Modest service awards—like the one sought here—are

routinely approved in this District and do not create either an adequacy issue nor




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indicate collusion when, as here, the award compensates for time spent and the

class is obtaining real relief. (Id.)

       There should be no question that the Settlement is entirely free from fraud or

collusion and the final UAW factor supports granting final approval.

VI.    CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court enter

an order (i) granting final approval to the Settlement Agreement, and (ii)

overruling Ms. Peterson’s objection, and (iii) awarding such other and further relief

as the Court deems reasonable and just.

Dated: August 23, 2017                  Respectfully submitted,

                                        ELIZABETH MOELLER AND NICOLE
                                        BRISSON, individually and on behalf of the
                                        settlement class,

                                        By: /s/ Rafey S. Balabanian
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                         CERTIFICATE OF SERVICE

       I, Rafey S. Balabanian, an attorney, hereby certify that on August 23, 2017, I
served the above and foregoing document on all counsel of record by filing it
electronically with the Clerk of the Court using the CM/ECF system.




                                             /s/ Rafey S. Balabanian
